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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:08-CR-110-ORL-19DAB

      JOSE LUIS CLASS

                                               ORDER

             This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 303, filed June 23, 2008) and no objection thereto

      having been filed, it is ORDERED:

             1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 303) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.      Defendant Jose Luis Class has entered a plea of guilty to Count Fourteen of

      the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

      Defendant is adjudicated guilty of Count Fourteen of the Indictment.

             3.      Ruling on acceptance of the Plea Agreement (Doc. No. 292, filed June 23,

      2008) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this           8th        day of July, 2008.
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      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
